                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                             Plaintiff,       )
                                              )
              v.                              )    No. 2:11-cr-04004-FJG-3
                                              )
LORENZO CARBAJAL PINA,                        )
                                              )
                             Defendant.       )


                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation (Doc. #60 filed June 28, 2011) of United States

Magistrate Judge Matt J. Whitworth, to which no objection has been filed, the plea of guilty to

Counts 1and 6 of the Superseding Indictment filed March 17, 2011, is now accepted. Defendant is

adjudged guilty of such offenses. Sentencing will be set by subsequent order of the court.




                                                    /s/ Fernando J. Gaitan, Jr.
                                                   Fernando J. Gaitan, Jr.
                                                   Chief United States District Judge

Dated: July 18, 2011
Kansas City, Missouri




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